Case 2:01-CV-02989-.]DB Document 59 Filed 08/01/05 Page 1 of 3 Page|D 62

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DEXTER O. CREEL, ]R.,

Plaintiff,
Case No. 01-2989 B

V.

SHELBY COUNTY GOVERNMENT,
ET AL.

*‘X-**%*-X-'K-**

Defendants.

 

ORDER TO STAY PROCEEDINGS FOR THIRTY (30) DAYS PENDING
SETTLEMENT NEGOTIATIONS

 

This matter came on to be heard upon Plaintiff’ s Motion to stay proceedings for Thilty
(30) days pending settlement negotiations and for good cause shown, the Motion of the Plaintii¥
should be granted and all proceedings in this cause shall be stayed for Thirty (30) days from the

entry of this Order on the docket sheet in compliance with Rule 58 and/or 79(a)FRCP.

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Dated; § ll /9"5/

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IT lS SO ORDERED.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:01-CV-02989 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

ENNESSEE

 

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Honorable J. Breen
US DISTRICT COURT

